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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                 Chapter 11

JPA NO. 111 CO., LTD. and                              Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                       (Jointly Administered)
                        Debtors.   1




                 DECLARATION OF HEINRICH LOECHTEKEN
            IN SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF
        ORDERS: (I)(A) APPROVING BIDDING PROCEDURES RELATING
      TO THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS;
           (B) ESTABLISHING STALKING HORSE BIDDERS AND BID
     PROTECTIONS; (C) APPROVING PROCEDURES OF THE ASSUMPTION
       AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
      UNEXPIRED LEASES; (D) AUTHORIZING ENFORCEMENT ACTIONS;
         (E) SCHEDULING AN AUCTION AND A SALE HEARING; AND
       (F) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
       AND (II)(A) APPROVING THE SALE OF THE PURCHASED ASSETS
             FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS,
         AND ENCUMBRANCES; AND (B) GRANTING RELATED RELIEF

                I, Heinrich Loechteken, being duly sworn, hereby depose and state:

                1.      I am the CEO of JLPS Ireland Limited (“JLPSI”), a wholly owned

subsidiary of JP Lease Products & Services Co. Ltd. (“JPL”). JLPSI is responsible for

aircraft trading and management for the JPL group, including the Debtors (as defined

below). JPL is the parent company of JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd,

the debtors and debtors in possession (the “Debtors”) in the above-captioned cases (the

“Chapter 11 Cases”). JLPSI currently manages 33 aircraft and has further contracts /

Letters of Intent (“LOIs”) for an additional 18 aircraft. Through JLPSI’s management




1   The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
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role, I am generally familiar with the day-to-day operations of the Debtors and their

affairs, books, and records.

               2.      JLPSI’s management team has an average of 30 years aviation

experience gained in financial institutions and aircraft lessors, including AerCap, ILFC,

GECAS, Avolon, DAE Capital, ACG, MCAP and Deutsche Bank. JLPSI has

relationships with over 270 airlines in 88 countries worldwide and with the majority of

the top 50 lessors (as per Airfinance Journal June 2020).

               3.      I make this Declaration in support of the Debtors’ Application for

Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale of Substantially All

of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Bid Protections;

(C) Approving Procedures of the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and

a Sale Hearing; and (F) Approving the Form and Manner of Notice Thereof; and

(II)(A) Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims,

Interests, and Encumbrances; and (B) Granting Related Relief [Docket No. 21], which was

filed on December 31, 2021 (the “Motion”).2

               4.      Except where specifically noted, the statements in this Declaration

are based on my personal knowledge, belief, or opinion; information that I have

received from the Debtors’ advisors and professionals; or from the records maintained

in the ordinary course of business of the Debtors and/or their affiliates.

               5.      I am not being compensated for providing this Declaration or

testimony. If I were called upon to testify, I could and would testify competently to the



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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion.



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facts set forth herein. I am authorized to submit this Declaration on behalf of the

Debtors.

   I.      Professional Background and Qualifications

               6.      I have held various executive positions in the fields of aviation and

corporate finance over the last thirty years. After working at Deutsche Bank for six

years, I served as Chief Credit Officer of DaimlerChrysler Financial and Chief Financial

Officer of DaimlerChrysler Capital for six years. During my time at DaimlerChrysler

Capital the company acquired a 900+ general aviation aircraft portfolio from the

Raytheon Company. I also spent six years as Chief Financial Officer and Chief

Investment Officer of AerCap, where I was responsible for all sales and purchases of

aircraft, investment in aircraft, joint ventures and securitization, accounting, finance and

treasury, and risk management. In 2010, I joined International Lease Finance

Corporation (ILFC) as Chief Investment Officer and was responsible for ILFC’s

portfolio strategy, for aircraft investment, and for purchase and sale activites. From

2014 to 2017, I served as an executive advisor to Mitsubishi Group Companies, MCAP

and Vermillion, and I have been involved in the purchase and sale activities as well as

the investment acitivties of their various aircraft leasing portfolio companies.

               7.      I have been a director of several AerCap and ILFC subisidiaries. I

was the Chairman of the Board of Directors of AerVenture, a joint venture between

AerCap and a Kuwaiti investor, for 3 years. AerVenture over time took delivery of 70

new Airbus A320CEO family aircraft.

               8.      During my time at DaimlerChrysler Capital I was responsible for

the sale of about $5 billion in various financial assets including, commercial real estale

loans, blue and brown water commercial marine loans, pleasure marine loans,

helicopter operating and finance leases, general aviation loans and leases, private jet

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loans and leases, commercial aircraft assets with leases attached. In my combined ten

year role as Chief Investment Officer and Chief Financial Officer of AerCap and Chief

Investment Officer of ILFC, I managed teams that purchased aircraft from Original

Equipment Manufacturers (“OEMs”), airlines, and leasing companies. During that

timeframe I also managed teams that sold aircraft to airlines, leasing companies, and

financial investors. During the aforementioned timeframe, the total volume of purchase

(orders from OEMs, Sale and Leasebacks and purchases from leasing companies and

investors) and sale of aircraft that I was directly responsible for exceeds $25 billion.

Both AerCap and ILFC ordered large quantities of aircraft from the OEMs during my

tenure – namely 70 A320 family aircraft plus 30 A330 family aircraft at AerCap and 200

A320NEO family aircraft plus 100 Embraer E2 aircraft at ILFC. Under my direction,

AerCap and ILFC regularly purchased aircraft via sale and leaseback transactions from

airlines. Both companies also purchased aircraft on lease from other leasing companies

and engaged in active selling of aircraft to leasing companies and financial investors.

For example, between 2006 and 2008 alone, my team at AerCap purchased 139 aircraft

and sold 110 aircraft. ILFC purchased its aircraft mainly through forward order

contracts with the OEM. During my time as Chief Investment Officer of ILFC I oversaw

the sale of 200 aircraft.

               9.      I was also responsible for the sale of debis AirFinance to Cerberus

Capital in 2005 and the subsequent IPO of AerCap (ex debis AirFinance) in a deal

valued at $2.8 billion, the acquisition of AeroTurbine in 2006 in a deal valued at $0.3

billion, the sale of a 50% equity interest in AerCap Partners 1 Holding Limited in 2006 in

a deal valued at $0.7 billion, and the acquisition of AeroTurbine into ILFC in 2011 in a

deal valued at $0.2 billion. As part of the ILFC management team I participated in the

sale of ILFC in a deal valued at $28.1 billion.

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               10.   During my time at JPL, JPL has purchased 10 A350s and has sold 9

A350s. In my role at JLPSI, I was responsible for and directly involved in the purchase

of 4 A350s and the sale of 3 A350s.

   II.    Sales & Marketing Efforts

               11.   On December 17, 2021 (the “Petition Date”), the Debtors

commenced these Chapter 11 Cases. The Debtors are pursuing an orderly marketing

and auction process for the sale of the Debtors’ 100% ownership interest in the

Purchased Assets.

               12.   Under the proposed Bidding Procedures, the Debtors and their

advisors will market the Purchased Assets. Such marketing involves the Debtors, their

advisors, JPL, and JLPSI and includes (a) contacting a broad range of both strategic and

financial investors that may have an interest in bidding for the Purchased Assets,

(b) providing access to confidential electronic data room with information on the

Purchased Assets, to all potential bidders, and (c) providing other relevant information

and marketing materials to potential bidders. In this way, the Debtors intend to

maximize the number of participants who may participate as bidders at the Auction

and thereby maximize the value to be achieved from the Sale and Auction.

               13.   Our typical process for selling an A350 begins with contacting all

(non airline) managers of modern widebody aircraft and other managers with assets

under management in excess of $1 billion to gauge their interest in acquiring these

assets. We would normally allow three to four weeks for these managers to provide an

initial bid, but we can truncate this to two weeks in the current market because there is

a lack of aircraft being offered at the moment. We would expect to receive up to ten

offers for these aircraft in the current environment. This is less than might be expected

in a normal market due to (i) the lack of other aircraft being offered with these aircraft

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for diversification; (ii) slightly reduced financing capacity in the market; and (iii) less

investor appetite for widebody aircraft due to the COVID-19 pandemic.

               14.   The Debtors and their advisors are committed to working with

potential bidders to provide access to confidential information on the Purchased Assets

and to facilitate any meetings or other due diligence that potential bidders may require

to understand and evaluate the Purchased Assets.

   III.   The Term Sheet

               15.   In connection with the Debtors’ sale efforts to date, the Debtors

contacted four potentially interested parties. As a result of these discussions, the

Debtors received an initial bid for the Purchased Assets from Capitol Reef LLC and Isle

Royale LLC (collectively, the “Stalking Horse Bidders”). Following extensive good-

faith, arm’s-length negotiations among the Debtors, JPL, the Stalking Horse Bidders,

and their respective advisors, the parties reached agreement on that certain term sheet,

dated December 24, 2021 (the “Term Sheet”), a copy of which is attached to the Motion

as Exhibit B. Pursuant to the Term Sheet, the Stalking Horse Bidders will serve as the

initial “stalking horse” bidder for the Purchased Assets, which will be subject to the Sale

Process overseen by the Court pursuant to the proposed Bidding Procedures.

               16.   I believe that the (i) Term Sheet confers substantial value and

benefits on the Debtors’ estates, (ii) entry into the Term Sheet, subject to higher or better

offers, is a sound exercise of the Debtors’ reasonable business judgment, and (iii) filing

this Motion with the Term Sheet in hand, subject to the post-petition marketing process

described herein, is in the Debtors’ best interests to maximize the value of the

Purchased Assets by setting an initial price “floor” in the Sale Process and moving that

process forward in a timely manner given the pressure being exerted by certain lenders.



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               17.     The Term Sheet provides for total consideration of approximately

$207,741,763.53 (the “Base Purchase Price”), equal to: (1) the outstanding principal

amount of the Senior Loans and Junior Loans associated with both Aircraft, plus all

accrued and unpaid interest, and payment of all other indemnification and other out of

pocket-expenses owing to the Senior and Junior Financing Parties (collectively, the

“Facility Repayment”); and (2) a cash payment equal to $5,000,000 (the “Cash

Component”).3 The Facility Repayment funds will be used to satisfy the Debt Facilities

in full as of the closing of the proposed sale. The Debtors have requested an accounting

from the Secured Creditors and will consult with the Secured Creditors in good faith

concerning the outstanding Senior Secured Obligations and Junior Secured Obligations

that are expected to be payable on the Closing Date. Any disputes in connection with

the Base Purchase Price that the parties are unable to resolve may be resolved by the

Court prior to the Sale Hearing. The Debtors will provide Potential Bidders a

breakdown of the amounts for each element of the Base Purchase Price at least one

week prior to the Bid Deadline.

               18.     Pursuant to the Motion, the Debtors are requesting approval of a

break-up fee of 4% of the total Base Purchase Price, in the event that the Purchased

Assets or any part thereof are sold to a party other than the Stalking Horse Bidder (the

“Break-Up Fee”) and an expense reimbursement not to exceed $1,000,000 (the “Expense

Reimbursement” and together with the Break-Up Fee, the “Bid Protections”). The Bid

Protections apply to any sale of the Purchased Assets or any part thereof (regardless of



3
    The Base Purchase Price includes the outstanding balances on the Senior Loans and Junior Loans as
    of December and October 2021, respectively, but the final number will include additional interest
    incurred through the Closing Date and certain reasonable fees that may be required under the
    Security Documents to ensure that the Senior Loans and Junior Loans are fully satisfied.



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when it may occur, whether or not as part of the Bidding Procedures or these Chapter

11 Cases), or any debtor in possession or other financing.

               19.   The Bid Protections have induced the Stalking Horse Bidder to

provide a commitment to purchase the Purchased Assets, while providing the Debtors

with the potential to obtain even greater benefits for the Debtors’ estates through the

Auction. By having an initial bid, the Debtors are able to establish a floor price for the

Purchased Assets that other bidders will need to surpass in order participate at the

Auction. Notably, the Term Sheet does not provide for significant due diligence

contingencies related to the Stalking Horse Bidders’ offer, which will signal additional

security and confidence to other prospective buyers who may be interested in

submitting a bid. If the Debtors were to market the assets without the benefit of a

Stalking Horse Bid, the Debtors might encounter greater challenges in their pursuit of

the highest or otherwise best offer for the Purchased Assets. Additionally, the Stalking

Horse Bid demonstrates to the market that the Debtors will be able to fully satisfy the

Senior and Junior Loans and accomplish their objectives for these Chapter 11 Cases. I

believe that the Bid Protections are appropriate in light of the need for reaching

agreement with the Stalking Horse Bidder, while another entity is seeking to disrupt

these Chapter 11 Cases.

               20.   I therefore believe that the Bid Protections are necessary and

appropriate and will allow the Debtors to maximize the potential sale value of the

Purchased Assets and ultimately provide the Debtors with a successful sale of their

most significant assets.

   IV.    Proposed Bidding Procedures and Timeline

               21.   I have reviewed and am familiar with the Motion and the related

Bidding Procedures. It is my opinion that conducting the Sale Process within the time

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period set forth in the Motion and the Bidding Procedures Order is adequate and will

provide additional potential bidders with sufficient time and information necessary to

formulate a bid. Moreover, I believe that the proposed sale timeline, including the

period of over one month from approval of bid procedures to the bid submission

deadline, will benefit all parties, as it will provide stability in the near term regarding

the go-forward operation and utilization of the Purchased Assets, which will serve to

maximize their value to new buyers. Additionally, based on my 20 years of experience

marketing aircraft assets similar to the Purchased Assets, I believe the time frame

proposed is consistent with the period of time required to maximize value. There is a

relatively small pool of buyers who regularly participate in such sales, and we will be

able to market the Purchased Assets through the typical channels pursuant to which

such buyers would consider these types of assets. Specifically, we would issue an RFP

to interested parties with a two week timeframe to review and present bids. We would

thereafter create a shortlist of no more than six counterparties to negotiate best and final

proposals over a one week period.

               22.   Moving forward with the Stalking Horse Bid in accordance with

the milestones set forth therein is a necessary step for the Debtors to pursue the Sale

Process as it provides sufficient proceeds to effectuate the Facility Repayment. All

prospective parties will be encouraged and permitted to submit proposals for a variety

of potential transactions, including DIP financings or outright sale of the Purchased

Assets in a way that maximizes value.




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               23.     The Debtors propose to conduct the Sale and Auction on the

following timeline:

                     Key Event                                           Deadline4

     Deadline for Bidders Who Are Secured
     Creditors to Complete Request to Utilize           January 28, 2022 at 4:00 p.m. (ET)
     Credit Bids at the Auction
     Deadline for Any Objections to Credit
     Bidding under Bankruptcy Code Section
                                                        February 4, 2022 at 4 p.m. (ET)
     363(k) (the “Credit Bidding Objection
     Deadline”)
     Deadline for any Responses in Support of
     Credit Bidding (the “Credit Bidding                February 11, 2022 at 4 p.m. (ET)
     Response Deadline”)
     Deadline for any Replies in Further
     Support of Objections to Credit Bidding            February 14, 2022 at 4 p.m. (ET)
     (the “Credit Bidding Reply Deadline”)
                                                        [**Subject to Court
     Court Hearing Date for Any Credit
                                                        Availability**][February 16, 2022 at __:__
     Bidding Disputes
                                                        __.m.]
     Deadline to Submit Bids (the “Bid
                                                        February 22, 2022 at 10 a.m. (ET)
     Deadline”)
     Deadline for Debtors to Notify Bidders of
     Status as Qualified Bidders (the                   February 22, 2022 at 5:00 p.m. (ET)
     “Qualified Bid Deadline”)
     If No Auction Is to Be Held, Deadline for
     Debtors to Notice that Stalking Horse Bid          February 22, 2022 at 5:00 p.m. (ET)
     (as defined herein) Is Successful Bid
     Auction to be held if the Debtors receive
     Qualified Bids, to be conducted via Zoom           February 23, 2022 at 10:00 a.m. (ET)
     Telephone Conference
     Deadline to File Notice of (i) Identities of
     Successful Bid and Back-Up Bid and (ii)
                                                        February 23, 2022 at 6:00 p.m. (ET)
     for seeking authority to sell the Purchased
     Assets to such Successful Bidder
     Deadline to Object to Successful Bid               February 24, 2022 at 10:00 a.m. (ET)
     Deadline for Replies in Support of Sale            February 24, 2022 at 6:00 p.m. (ET)
                                                        [**Subject to Court
     Sale Hearing                                       Availability**][February 25, 2022 at [__:_0
                                                        _.m. (ET)

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    These dates assume a January 20, 2022 Hearing on the Bidding Procedures and a February 25, 2022
    Sale Hearing. Dates to be adjusted if hearings are scheduled for different dates.



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                     Key Event                                      Deadline4

                                                    February 28, 2022 at 5:00 p.m. (ET) (or
    Deadline for Closing of Successful Bid          Such Later Date as Agreed by the
                                                    Debtors and the Successful Bidder)

               24.     Based on my professional experience, I believe that the proposed

timeline set forth in the Bidding Procedures is adequate and will allow the Debtors

sufficient time to market the Purchased Assets and obtain the highest and best offer.

               I swear under penalty of perjury that the foregoing is true and correct to

the best of my knowledge, information, and belief.

Dated:    New York, New York
          January 10, 2022



                                             By: /s/ Heinrich Loechteken
                                             Name: Heinrich Loechteken
                                             Title: CEO of JLPSI




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